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‘Jooroy) Wed ABAD pure

yowo pure *_./,, poysew ydeisered ul yjJoy Jos suoTeSo]]e Oy} Sorusp Juepuayoq :GUIHL

‘JOoIDy} Wed AIDAd

pue yore pue "Des pue “ow "abs “whn ee poryieul sydersered ul Yio Jo suonesayye ou} 0} SB JOToq

B UOJ O} JUSIONJNS UONLULIOJUI JO OSpo|MOUY SUIARY Sotuap JuRpUd|Iq :GNODAS

 

NOILOV HO ASNAVO LSU AHL OL SV

‘Jooioy} Wed AJAo pue yoed pur *,.],, poyseu ydessesed ut yyoJ Jos suoNesaTye ay} 01 se

Jolfaq B UOJ 0} JUSTIOLFNS UOTVULIOJUT 10 ISpo] MOU SULARY Sotuap JURpUdFOq = SUT

‘Jorg puv uorjeULoyuT UOdN soye}s UIDIDY JUIB]AWUIOD poIflIaA,

oy} SuLamsue “SOSH “YONNOO.O ¥% YONNOD.O “ACGOUE ‘sAousone su Aq *.SALLINOA

THALS &/9/P II] SOT THALS., 8/U/S/E dT ‘I SOT - THA.LS “epusjop sy],

UUMSNV GaTHRIHA

IL0S IL AO
ON WOR [ALD

“sjuBpUdToq

“ONT ADV TINVH NISVA Pur SALLINOY TAALLS 8/9/P
Il SOT TAALS “ADIAMAS TV.LSOd SALV.LS GALINA

-|sulese-
“SJFTUTL] I

‘OULSVO VNNOG Pe OULSVO O.LUAGNNH

 

xX -

AYOA MAN AO LORILSIG NYALSVA
LYNOO LOPELSId SALVLIS G4LINN
dv SLc-lI ND

8LLL-197 (1€9)

89LTT OA MON “WodyyoN

onusAy MoIAKkeg /

YONNOD.O ¥ YONNOD.O ‘AGOU
(Sp9SOd) Jouu0D,.CO “Vv BIoLneg
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‘Jooi9y} aed
AIOAD pue YoRd pure *..C¢,, pure “PE, *..€¢,, poyrew sydevisesed Ul yLIOj 39s SUOTPEBATTV OY} 0} Sv JoT]aq B

WIOJ 0} JUSIOYJNS UOTVULIOJUI 10 OSpajMouy SUIALY Soluap jUepUsTIq, “-HLLNAAATA

 

NOIDOV 40 ASNVO GUA FAL OL SV
‘JooIoy) wed A1OAD puv YORI pue *..7¢., PUB ‘TE,
* O€s5 °6T>, POE Sydesseied Ul YO] 19s SUOTYSOT[e ay] SolUDp yURPUdFOq ?HLLNAL
‘JOoIOY} Jed AIOAD pue YdeVd pure *..8Z,,
PUR Los “ceDTo5 “cS Tos cc Toe “cc € Tos “ccT Cos POYTVU sydvisesed Ur YLOJ JOS sUONeSaT][e dy} 0} SB JOTTOq
B WAOJ O} JUDIOIJNS UONCULMOJUL 10 OSpoyMoUy SuULARY Solusp yURPUdFOqd =H.ELNIN
"YIOX MON ‘odedyjog “soA pBOY ULLUWUINIDH Bgz SUIPN]UI YO X MON ‘asedyjog
“‘pROY I[IASYITH OOL 1 poyesoy sastuioid JO JOUMO 9Y} SI d’T ‘TIT SOT - TAA.LS Jeu) siiupe ydooxa
‘17. poyzeu ydeisered ul yoy jos suonesoyye oy) sorusp wuepusjaq) *H.LHOIA
‘Joooy} Wed AIZAO pue yoed pur *,.QZ,, poyszewul ydeisesed ul YWOj Jos suoNesay[e oy} 0} Se JoI[aq B
WO} 0} JUSTOLJJNS UONLULIOJUI JO ASpo|MOUY SUIAvY SoTUap yURPUsFOq -HINAAAS
‘dryssouyred pow wily sysowop k St d’] ‘TIT SOT - TAALS 1eu) sytupe

1d99x9 *..6[,, poyrew ydessesed ul YAOj JOS SUOTIESA|[e dy] SOlUSp JURPUDJOC] *H.LXIS

 

NOLLOV HO ASNV) GNOOUS AHL OL SV

‘JOOINY} Fed AIOAO puK Yes pure *..8],, puUe *.ZT.,

* Ole GS ].. poze sydvisesed ul YO} Jas suoNeSa][e oy} SorUop yURpUsFOq *-H LAT
‘Joo1oy ped AJOAD puke YoRs
pure ‘ple, PUR ST. ZT Los “cc Toe “cc Los “ccs. POYLOW Sydessesed Ur YIIOJ JOS SUOTILSaT[e OY} 0} SB JOTTOq

B WLOJ 0} JUDSTIOLJJNS UOTBUWIOJUI JO OSpo;MOUY SuLAvy satusp juRpusjoq “-HLUNOA
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‘JOIN Jed AIDAD puke yoRd pue
“CS, Poyzew ydessesed Ur YyIOj Jos suOHeSo][e oY} SotUSp JURPUdJOg ?-HENAALANIN
‘JOo1DY} Wed AIDAD pur yor pur ‘..[¢,, poloquinu ydeisered 0} JoMsue UI YF
JOS Joyeurosoy ApIepnoysed s10w JI se yure;durod oy} Jo *..9¢,, YSnosy} ,.[,, poroquinu sydessesed 0}
JOMSUP UI [eIUDp AIOAD puke YORd SoyeJO}IOI pue syeodal uepusjoqd :=HINAALHDIA
‘Joo1oy} Wed AOAD pue yoo pur *.0¢,, posoquinu ydessered 0} JaMsuP Ul YO}
Jos Joyeurosoy Aprepnorsed o10u JI se yure;dwoD 94} JO ‘.6p,, YSNOIY) ,,[,, posoquinu sydessesed 0}
JOMSUP UI [RIUOp AIDAD puke YORd SoyeID}IOI pue syeodas juRpudjaq -HLNAALNAAAS
‘JOINY} Wed AJOAD puke Yyoed pur ‘*,.6p,, posoquinu ydeisered 0} Jomsue Ul
YO} JOs Joyeurosioy ApIepno ed s10u JI se JUIeTAWIOD 9Y} JO *,.Yp,, YSNOIY} ,,[,, Posoquinu sydessesed
0} JOMSUP UI [BIUDp AIDAD pure YOed SoyeJo}IO1 pue syeodo1 yuRpudsjoq :=HLNAALXIS
‘Jooioy) wed AIDA pue Yyord pur *,.gp,, posoquinu ydeisesed 0} JoMsue Ul
YO} Jos Joyeulosoy AprepNorysed o10Ul JI se yUTe[duUIOD dy} JO *../ p,, YSNOIY} ,,[,, Posoquinu sydeisesed

0} JOMSUP UI [eIUap AIDAD puke YoRd SojeJO}IO1 pue sjeodal juepusjoq *=HLNAALAI

 

NOILOV HO YSAV)D HLYNOd AHL OL SV
‘JooiOY} Wed AIDA pur YyoRd pure *./p,, PUB “OH, St. dP
poyleu sydeisesed ul yyOJ JOS sUOTeST[e OY} SoTUDp JURpUdJOq “=HLNAALYNOA
‘JOoINY} Wed AJOAO pue YoRo pure *..¢p,,
PUR 6.755 cL Pos ccOPos “ecb Foo “cc QE» POYVW sydeisered ul YVOJ JOS suOTeSOT[e 9} 0} Sv JoT[oq & WLIOJ
0} JUSIOYJNS UOTLUWLIOJUL 10 9Spo[MOUY SulAvy sorusp yuepusjoq :=HLNAALMIHL
‘JOoINY} Wed AJOAO puke Yoo pur *../.¢,, pue

“O€,, poyseu sydessered ul yoy jos suonesalye oy} sorusp yuepusjog :HIATAML
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yora Aq aseva] JO YORI1G 1O/PUL 1OBIJUOS JO YORIIG 10/PUB UOTSSTUILLOD JO UOISSILO JO $}9B DANRULITE
Jo/pue d0uasI[saU pUv SSoUSSOTYDOI ‘SSoUSsd]asVd dy} JO UOsear Aq posneo diam sosetuep pur soumfut
Ples ‘“90UdS1]B9U PUP SS9]YOAI “SSOUSS9{OIV UMLO S JJ }jUIL|C dy} UBY] Joyo doUdZI[ToU pur ssoussayoaI
‘ssoussoyaieo Aue ysnosy) jurejduoy oy} ul podoyye JouueU oy} UT pue sov{d pue our) oy) 12
SosvlUlep puv SdLIN[UT UTEISNs 0} posned SPM ‘OYLSVO OLYAGWNNH ‘joureyd oyy J]
‘SADA TTIV “CSALLINOU THALS &/4/P TT
SOT TAHALS, ®/4/S/ dT “IL SO? - TAU.LS “LNVONAAAG “ONT

FOV TOVH NISVE GNV FOIANTS TV.LSOd SALV.LS CA.LINA
‘SINVONAAAG-OD LSNIVOV LNIVIdNOO SSOUD V SV

“SrSp UONDSS YTD YUM IouURPIODIR UT ‘poaraoal sjusUUAed [e1d}e][OO Aue

JO Juno ay} Aq poonpos oq [yeYs ‘Aue JI ‘AIDAODOI SIFU] G “GNOOAS-A.LNAML

 

ASNAAG GAATLVARTAAY GUTH. V WOU GNV SV
“UTdd 94 JO 1091
uol}dag Aq paplAold se “Ay [Iqed[nd sAYds S$} YUA\ DoUepIOIOR Ul SadeUEp pres Jo ares a]qeynba
S}L P9dOX9 JOU ABUL SSO] SIWIOUODI-UOU JOJ UTdI9Y ATIQRI] S.JURPUdJOp UdY} ‘S1osea}.10} JUIOL aIOUL
Jo om} Aq ed Ul JO sJOYM UT posnwd o19M sosewep .synureyd yey) pourlutojop st yt pue juepusyap

SULIOMSUR SIU} JSUIESE JUDWUSpPN! IOAOSOI S]JUTET Jey} JUDAS OU UT LSM T-A. LNA

 

ASNAAAd TALLVAMIAAVY GNOOUS V YOU GNV SV
“SoseUBP 94) pasned YIM doUdSI[3aU 10/pue yoNpUuOoS
d][qed[no sy} 0} suv9q spre oy} 07 o[qeinquye Ysi1 Jo uoNduunsse Jo/pue soUdsI[3ou ATO NGLUOD
Jo/pue jonpuos s[qedjns oy) yoryM uonsodoid oy} Ul poysIulUIp oq prnoys sures ‘syynureyd 0}

Opel oq pleMe Ue P[NoYs pure ‘ysL Jo uoNduinsse 10/pue sdud81[39u ATONQLIUOS Surpnyjoul ‘jonpuos

gyqedjno jo AyINS sem ‘OULSVO OLYAGWNNAH “yaureyd oy, ‘HLALLNAML

 

ASNAAAd GALLVAAAAY LSatad V woud GNV SV
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LLOZ ‘[ taquiaseq
yIO XK MON ‘LodyVON :poreq

“UOTde STY] JO SJUDWISINQSIpP
PUB S}SOO YIM 19YI}990} ‘ULOIOY JUIe|dWIO|D oy} Suissiuusip juowspnl sysonbo. *..SALLINOA TAALS
e/Q/P II] SOT THHLS., 8/U/S/E dT TI SOT - THALS “Wepusfop “FYOARTYAHM
‘jule]dulog-ssolg styy
SUILJOSSe (S)JURPUSJOp ples oY} ISUILBR PdIOAOIAI JUDWISpNl IO JOIPADA dy} 0} 9]NGLNUOD 0} d[qQeIT 2G
[[EM ‘ooUD.LIND90 pasoT[e yj JOJ Apl[iqisuodsai Jo juwUOTOdde Jo siseq dy} UO ‘popeayd si yureydurod
-SSOIZ SITY] WOYM jsurlese Ayed yore “SUIODII0] Sy} JO UOSedI Aq pue ATOATVUIDITV
‘JUSWOSANGSIp
pue UONeSNSOAUI JO S}]SOd ‘saof ,SADUIONR ]]B pu JUIe|dUIOD-SsOID SIy) Surosse (s)jUepUd;op
oy} 0} Aed 0} punog pure jule;dwiod-ssoi) sty) Sunsosse (s)juepuayop oy} ysuIese syynureyd oy}
Aq UldIDY AIOAODAI B JO JUDAD OY} Ul DUS OY} BUILIOSse (S)JUBPUdJop oy AJIULUOPUT 0} puNog pue oO}
J]qel] oq [[IM popeoyd si jure;durod-ssolg sty} Woy jsulese Ayred yoRos ‘popeoyd si yurepduiod-ssolg
STy} WOYM ysuTese Aj1ed YoRs pure (s)jUBpUdjop SuluTe;dUIOd-ssOId dy} UdMJOq PUB Aq SJUSWUdOISE
SsopWey ploy 10/pue UONedIJIUWIApUI JO UOSBdI AG PUR SUIOSdIOJ dy] JO UOSBdI AG
“1OJAIDY} oqisuodsai dq []IM JO St popeoyd st jurejdwiog-ssosg sy} WOYyM
ysurese Ayied yors pue Agaioy) posewep oq [[IM (S)|Uepuazop pres oy} “JUTe[dWIOD-SsOsZ_ SIy} SUIJOSsSE
(s)juRBpudsjap oy} JsuIese syyuieyd oy} Aq Uld1OY Pa1dAo0deai SI yUoWSpnl Aue Jr pue ‘Ayred yons yoea

Jo saokojduis Jo/pue sjuvAsas ‘sjuase oy} pue popvoyd si jureyduuo0d-ssoly sty) Woy jsurese Ayed
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SLELT HOA MON “tpodsepyl
ONUdAY Sulysnyy [0-LS
“ONI FADOWTAVH NISVE

OOLLT OA MON “eIpueylsy
VOEL XO" ‘O'd
TOIAYHS TV.LSOd SALVLS GALINA

006b-rS9 (19)

CLLI I yIOX MON ‘onsoyoyed
Z SuIpting ‘jeans uNsNY 001
sjjnure[g 10} SAouUION VY

‘I'd ‘OZZVd 8 HOVENANV ‘NIALSNYA “YALLYVO

AV SL7-LL ND “ON Aft
8LLL-197 (1¢9)

89LTT HOA MON “WOdyyION

ONUSAY MoIAARg /

SSOIPPV SFO 180d PUL ddIJO
(sp9SOd) HONNOD.O ‘V VIORILVd

 

Ye Ag

«SALLINOA TAALS 8/9/P IIT SO'T TAALLS., ®/4/S/!
dT Ill SOT - TAHLS
JuBpUdJoq] OJ SKOMIONW

‘SOSH “YONNOD.O 8 YONNOD.O “AGOUd

‘sino X Aypnyyoodsay

‘OL
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ITT Nd AUVLON

 

jo Aep
SIY} OU O10JOQ 0} UWIOMS

 

“Aq

dT ‘Il SOT - TAXLS

‘uoneIod109 oy} Aq poUre]UIBU Sp1OI9I PUL SOI} DIB Joljaq pue UOTFRULIOJUI
uodn posalje Udy} SIOWVUW [[e 0} se Joljoq sly JO spunoss oy] pue aspaymouy s,juduodap
JO SadINOS OY], ‘foosdy} JO9yJO uv si yuouOdsp pure dryssouysed popu] sNsowop v st jURpUayop

yey} SI JuURpusyop Aq jou pue yUsUodop Aq opel SI VONBOTTLIO A Sty] AYM UOSwaL OUT,
“ON.] dq 0} UI SOADTIAG SY JOeU 9SOy}
0} SB puk ‘Jol[aq PUB UONLULIOJU! UO poso[[e 9q 0} Poyejs ULOIOY} S1d}}VUU dy} 0] SB }da0x9 dSpo;MOUy
UMO SJUdUOdap 0} ONJ} SI SUIS PUB JOOTOY] S]UQ]UOS dy} SMOUY puv JOMSUY paljliaA SuIoso10j

dy} peal sey jugUOdap INOA pure “UOT Ie UIYIIM oY} Ul JURPUdsop 94} pue diysssuysed poy] onsaWOp

 

Bd TT SOT- THALS JO au} st ouodap 1eY],

 

:skes pure sosodap ‘uioms Aynp Butaq *

( WIOAAINS AO ALNAOO
vss (

( SMYOA MAN JO ALVLS

NOILLVOMIIRAA
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JITANd of LON

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. “LLIOZ ‘zoquiaoacq Jo Aep a)
| S14} 9 wIOJaq 0} WIOMS
VUYOOWNVS VAC, /

 

VOFIM EL OKO V

“ena

"YIOX MAN JO omg op UTyVIM sqemmpedoct IdTIJO ISOg Sd}LIS poy sy) Jo Apoisno pur oreo

SAISNIDX9 OY} AapuN AIO}S
Jo Adoo ony v Sunsodap Aq osodind yey} 107 Aousoye pres Aq poyeusisap ssoippe ou J,

BLETT HOA MON “Miadseyyi
anuaay SUIYSN}.{ [0-L¢
‘ONI ADV INVH NISVE

OOLIT YOA MON ‘BIpurysy
vOEL XO"E ‘O'd
SOIAYHS TVLSOd SALVIS CaLINN

006b-rS9 (19)

ZLLIT YIOAK MON ‘onBoYoIVg
Z SUIP[Ing ‘j9eng UNsNY (COI
sjpure] dg Joy sAousony

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op [eloryo ue ut ‘1addeim passoippe Ay1odoud piedysod v ul pasojous auivs

‘NOdN

NOILVOMIYAA Pu? YAMSNV

GAIARIAA UlyIM ou} poasos yuouodap ‘| [QZ “Jaquiasaq Jo Aep bb 3Y} UO yey

"YIOX MON “eUIOYUOYUoY 12

SOpIsol pue 98v JO sIBdK QI] JOAO SI ‘UOT}OR STY) 07 Ayed B JOU SI JUOUOdap INOK yey,

:sXes pue sosodap ‘usoms A[np 3uleg “VYAOOVNVS VGA

( MTOdSAINS JO ALNOAOD

ISS (

( WYOA MAN AO ALVIS

 

ONITIVIN AO LIAVGIAAV
